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John E. Mitchell (Admitted Pro Hac Vice)                       Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                    AKERMAN LLP
Dallas, TX 75201                                               98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                           Miami, FL 33131
Fax: (214) 981-9339                                            Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )
CORPORATION, et al.,1                                   )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )
                                                        )           (Jointly Administered)

             DEBTORS' OMNIBUS RULE 26(a)(1)(A) INITIAL DISCLOSURES
                  PURSUANT TO UNIFORM PROCEDURES ORDER

         Republic Metals Refining Corporation, et al. (collectively the “Debtors”) hereby file their

initial disclosures pursuant to the Court's Order Approving Uniform Procedures for Resolution of

Ownership Disputes (ECF No. 395, the “Procedures Order”). See Procedures Order, ¶ 3(c).

These disclosures are based upon information reasonably available to the Debtors. The Debtors

are continuing to investigate and discovery may alter these disclosures. The Debtors reserve the

right to amend and supplement the information provided herein, and/or revise inadvertent or

undiscovered errors as discovery progresses.

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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         The Debtors do not represent that any particular document exists within their possession,

custody or control by making these disclosures.

         The Debtors make these disclosures without waiver of, or prejudice to, their rights or

objections.

         The Debtors expressly reserve the right to identify and call as witnesses additional

persons if the Debtors learn such additional persons have knowledge of relevant matters during

the course of discovery.

         The Debtors make these disclosures subject to and without limiting any of the foregoing.

The Debtors make these disclosures in the belief that an appropriate confidentiality order and

rational production limitations can and will be agreed upon by counsel at an appropriate time.

                                   RULE 26 DISCLOSURES

       Rule 26(a)(1)(A)(i). The name and, if known, the address and telephone number of
each individual likely to have discoverable information–along with the subjects of that
information–that the disclosing party may use to support its claims or defenses, unless the
use would be solely for impeachment:

                Witnesses who are intended solely for impeachment are not
                covered by the provision of Rule 26(a)(1)(A)(i) of the Federal
                Rules of Civil Procedure. Plaintiff reserves the right to supplement
                his disclosures under Rule 26(e)(1)(A) of the Federal Rules of
                Civil Procedure.




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 Names                       Contact Information                   Subjects of Information
 Record Custodians of the    c/o John E. Mitchell, Esq.            The Debtors shall designate custodians
 Debtors                     Yelena Archiyan, Esq.                 of the Debtors' records. The Debtors
                             AKERMAN LLP                           have knowledge regarding the Debtors'
                             2001 Ross Ave., Ste. 3600             books and records.
                             Dallas, TX 75201
                             Telephone: 214-720-4300
                             john.mitchell@akerman.com
                             yelena.archiyan@akerman.com

                             and

                             Andrea S. Hartley, Esq.
                             Joanne Gelfand, Esq.
                             Katherine C. Fackler, Esq.
                             AKERMAN LLP
                             98 Southeast Seventh St., Ste. 1100
                             Miami, FL 33131
                             Telephone: 305-374-5600
                             andrea.hartley@akerman.com
                             joanne.gelfand@akerman.com
                             katherine.fackler@akerman.com

 Scott Avila                 c/o John E. Mitchell, Esq.            Scott Avila is the Debtors' Chief
                             Yelena Archiyan, Esq.                 Restructuring Officer. Mr. Avila has
                             AKERMAN LLP                           knowledge regarding the Debtors' day-
                             2001 Ross Ave., Ste. 3600             to-day operations, business, financial
                             Dallas, TX 75201                      affairs, and books and records.
                             Telephone: 214-720-4300
                             john.mitchell@akerman.com
                             yelena.archiyan@akerman.com

                             and

                             Andrea S. Hartley, Esq.
                             Joanne Gelfand, Esq.
                             Katherine C. Fackler, Esq.
                             AKERMAN LLP
                             98 Southeast Seventh St., Ste. 1100
                             Miami, FL 33131
                             Telephone: 305-374-5600
                             andrea.hartley@akerman.com
                             joanne.gelfand@akerman.com
                             katherine.fackler@akerman.com




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 Names                    Contact Information                   Subjects of Information
 Jason Rubin              Corporate Counsel:                    Mr. Rubin is the Debtors' President and
                          c/o John E. Mitchell, Esq.            Chief Executive Officer. Mr. Rubin has
                          Yelena Archiyan, Esq.                 knowledge regarding the Debtors' day-
                          AKERMAN LLP                           to-day operations, business, financial
                          2001 Ross Ave., Ste. 3600             affairs, and books and records.
                          Dallas, TX 75201
                          Telephone: 214-720-4300
                          john.mitchell@akerman.com
                          yelena.archiyan@akerman.com

                          and

                          Andrea S. Hartley, Esq.
                          Joanne Gelfand, Esq.
                          Katherine C. Fackler, Esq.
                          AKERMAN LLP
                          98 Southeast Seventh St., Ste. 1100
                          Miami, FL 33131
                          Telephone: 305-374-5600
                          andrea.hartley@akerman.com
                          joanne.gelfand@akerman.com
                          katherine.fackler@akerman.com

                          Personal Counsel:
                          Jeffrey P. Bast, Esq.
                          BAST AMRON LLP
                          SunTrust International Center
                          One Southeast 3rd Ave, Ste. 1400
                          Miami, Florida 33131
                          Telephone: 305-379-7904
                          jbast@bastamron.com

 David Comite             c/o John E. Mitchell, Esq.            Mr. Comite is the Debtors' Treasurer
                          Yelena Archiyan, Esq.                 and Chief Financial Officer. Mr.
                          AKERMAN LLP                           Comite has knowledge regarding the
                          2001 Ross Ave., Ste. 3600             Debtors' day-to-day operations,
                          Dallas, TX 75201                      business, financial affairs, and books
                          Telephone: 214-720-4300               and records.
                          john.mitchell@akerman.com
                          yelena.archiyan@akerman.com

                          and

                          Andrea S. Hartley, Esq.
                          Joanne Gelfand, Esq.
                          Katherine C. Fackler, Esq.
                          AKERMAN LLP
                          98 Southeast Seventh St., Ste. 1100
                          Miami, FL 33131
                          Telephone: 305-374-5600
                          andrea.hartley@akerman.com
                          joanne.gelfand@akerman.com
                          katherine.fackler@akerman.com



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 Names                        Contact Information                   Subjects of Information
 Alan Silverstein             c/o John E. Mitchell, Esq.            Mr. Silverstein was the Debtors’
                              Yelena Archiyan, Esq.                 general counsel. Mr. Silverstein has
                              AKERMAN LLP                           knowledge regarding the Debtors’
                              2001 Ross Ave., Ste. 3600             contracts with certain customers.
                              Dallas, TX 75201
                              Telephone: 214-720-4300
                              john.mitchell@akerman.com
                              yelena.archiyan@akerman.com

                              and

                              Andrea S. Hartley, Esq.
                              Joanne Gelfand, Esq.
                              Katherine C. Fackler, Esq.
                              AKERMAN LLP
                              98 Southeast Seventh St., Ste. 1100
                              Miami, FL 33131
                              Telephone: 305-374-5600
                              andrea.hartley@akerman.com
                              joanne.gelfand@akerman.com
                              katherine.fackler@akerman.com

 Luis Pena                    c/o John E. Mitchell, Esq.            Mr. Pena has knowledge regarding the
                              Yelena Archiyan, Esq.                 Debtors’ contracts with certain
                              AKERMAN LLP                           customers.
                              2001 Ross Ave., Ste. 3600
                              Dallas, TX 75201
                              Telephone: 214-720-4300
                              john.mitchell@akerman.com
                              yelena.archiyan@akerman.com

                              and

                              Andrea S. Hartley, Esq.
                              Joanne Gelfand, Esq.
                              Katherine C. Fackler, Esq.
                              AKERMAN LLP
                              98 Southeast Seventh St., Ste. 1100
                              Miami, FL 33131
                              Telephone: 305-374-5600
                              andrea.hartley@akerman.com
                              joanne.gelfand@akerman.com
                              katherine.fackler@akerman.com




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 Names                            Contact Information                         Subjects of Information
 Joseph Liberman                  c/o John E. Mitchell, Esq.                  Mr. Liberman has knowledge
                                  Yelena Archiyan, Esq.                       regarding RTMM’s day-to-day
                                  AKERMAN LLP                                 operations, business, financial affairs,
                                  2001 Ross Ave., Ste. 3600                   and customer contracts.
                                  Dallas, TX 75201
                                  Telephone: 214-720-4300
                                  john.mitchell@akerman.com
                                  yelena.archiyan@akerman.com

                                  and

                                  Andrea S. Hartley, Esq.
                                  Joanne Gelfand, Esq.
                                  Katherine C. Fackler, Esq.
                                  AKERMAN LLP
                                  98 Southeast Seventh St., Ste. 1100
                                  Miami, FL 33131
                                  Telephone: 305-374-5600
                                  andrea.hartley@akerman.com
                                  joanne.gelfand@akerman.com
                                  katherine.fackler@akerman.com

 Corporate representative (or     c/o Michael Luskin                          Rabobank, one of the Senior Lenders, 2
 records custodian) of            Richard Stern                               has knowledge regarding its
 Coöperatieve Rabobank            Alex Talesnick                              agreements with the Debtors, including
 U.A., New York Branch            LUSKIN, STERN & EISLER LLP                  credit agreements, master netting
 (“Rabobank”)                     Eleven Times Square                         agreements and/or lease agreements
                                  New York, New York 10036                    and the obligations of the parties
                                  Telephone: (212) 597-8200                   thereunder.
                                  E-Mail: luskin@lsellp.com
                                  E-Mail: stern@lsellp.com
                                  E-Mail: talesnick@lsellp.com

 Corporate representative (or     c/o Michael Luskin                          BBH, one of the Senior Lenders, has
 records custodian) of            Richard Stern                               knowledge regarding its agreements
 Brown Brothers Harriman          Alex Talesnick                              with the Debtors, including credit
 & Co. (“BBH”)                    LUSKIN, STERN & EISLER LLP                  agreements, master netting agreements
                                  Eleven Times Square                         and/or lease agreements and the
                                  New York, New York 10036                    obligations of the parties thereunder.
                                  Telephone: (212) 597-8200
                                  E-Mail: luskin@lsellp.com
                                  E-Mail: stern@lsellp.com
                                  E-Mail: talesnick@lsellp.com




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    Capitalized terms not otherwise defined herein are used as defined in the Procedures Order.


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 Names                          Contact Information               Subjects of Information
 Corporate representative (or   c/o Michael Luskin                Hapoalim, one of the Senior Lenders,
 records custodian) of Bank     Richard Stern                     has knowledge regarding its
 Hapoalim B.M.                  Alex Talesnick                    agreements with the Debtors, including
 (“Hapoalim”)                   LUSKIN, STERN & EISLER LLP        credit agreements, master netting
                                Eleven Times Square               agreements and/or lease agreements
                                New York, New York 10036          and the obligations of the parties
                                Telephone: (212) 597-8200         thereunder.
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com

 Corporate representative (or   c/o Michael Luskin                Mitsubishi, one of the Senior Lenders,
 records custodian) of          Richard Stern                     has knowledge regarding its
 Mitsubishi International       Alex Talesnick                    agreements with the Debtors, including
 Corporation (“Mitsubishi”)     LUSKIN, STERN & EISLER LLP        credit agreements, master netting
                                Eleven Times Square               agreements and/or lease agreements
                                New York, New York 10036          and the obligations of the parties
                                Telephone: (212) 597-8200         thereunder.
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com

 Corporate representative (or   c/o Michael Luskin                ICBCS, one of the Senior Lenders, has
 records custodian) of ICBC     Richard Stern                     knowledge regarding its agreements
 Standard Bank Plc              Alex Talesnick                    with the Debtors, including credit
 (“ICBCS”)                      LUSKIN, STERN & EISLER LLP        agreements, master netting agreements
                                Eleven Times Square               and/or lease agreements and the
                                New York, New York 10036          obligations of the parties thereunder.
                                Telephone: (212) 597-8200
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com

 Corporate representative (or   c/o Michael Luskin                Techemet, one of the Senior Lenders,
 records custodian) of          Richard Stern                     has knowledge regarding its
 Techemet Metal Trading         Alex Talesnick                    agreements with the Debtors, including
 LLC (“Techemet”)               LUSKIN, STERN & EISLER LLP        credit agreements, master netting
                                Eleven Times Square               agreements and/or lease agreements
                                New York, New York 10036          and the obligations of the parties
                                Telephone: (212) 597-8200         thereunder.
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com

 Corporate representative (or   c/o Michael Luskin                Woodforest, one of the Senior Lenders,
 records custodian) of          Richard Stern                     has knowledge regarding its
 Woodforest National Bank       Alex Talesnick                    agreements with the Debtors, including
 (“Woodforest”)                 LUSKIN, STERN & EISLER LLP        credit agreements, master netting
                                Eleven Times Square               agreements and/or lease agreements
                                New York, New York 10036          and the obligations of the parties
                                Telephone: (212) 597-8200         thereunder.
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com



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 Names                          Contact Information                Subjects of Information
 Corporate representative (or   c/o Michael Luskin                 Leumi, one of the Senior Lenders, has
 records custodian) of Bank     Richard Stern                      knowledge regarding its agreements
 Leumi (“Leumi”)                Alex Talesnick                     with the Debtors, including credit
                                LUSKIN, STERN & EISLER LLP         agreements, master netting agreements
                                Eleven Times Square                and/or lease agreements and the
                                New York, New York 10036           obligations of the parties thereunder.
                                Telephone: (212) 597-8200
                                E-Mail: luskin@lsellp.com
                                E-Mail: stern@lsellp.com
                                E-Mail: talesnick@lsellp.com

 Corporate representative (or   c/o Frank J. Corigliano            Action Forklift, one of the Customers,
 records custodian) of          THE O’REILLY LAW FIRM              has knowledge regarding its claims
 Action Forklift, Inc.          1961 Route 6                       against the Debtors
 (“Action Forklift”)            Second Floor
                                Carmel, NY 10512
                                Telephone: 845-225-5800
                                fcorigliano@mahopaclawyer.com

 Corporate representative (or   c/o Alison D. Bauer                Alamos, one of the Customers, has
 records custodian) of          William F. Gray                    knowledge regarding its claims against
 Alamos Gold Inc., Minas de     TORYS LLP                          the Debtors
 Oro Nacional, S.A. de C.V.,    1114 Avenue of the Americas
 Minera Santa Rita S. de        23rd Floor
 R.L. de C.V. (“Alamos”)        New York, New York 10036
                                Tel: 212.880.6000
                                Fax: 212.682.0200
                                abauer@torys.com
                                wgray@torys.com

 Corporate representative (or   c/o Robert Fleischer               Alex Morningstar, one of the
 records custodian) of Alex     Kellianne Baranowsky               Customers, has knowledge regarding
 Morningstar Corp. d/b/a        GREEN & SKLARZ LLC                 its claims against the Debtors
 Morningstar’s (“Alex           700 State Street, Suite 100
 Morningstar”)                  New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com




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 Names                          Contact Information                 Subjects of Information
 Corporate representative (or   c/o Howard P. Magaliff              APMEX, one of the Customers, has
 records custodian) of          RICH MICHAELSON MAGALIFF, LLP       knowledge regarding its claims against
 APMEX, Inc. (“APMEX”)          335 Madison Avenue                  the Debtors
                                9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

                                and

                                William H. Hoch, III
                                CROWE & DUNLEVY, P.C.
                                324 N. Robinson Avenue
                                Suite 100
                                Oklahoma City, OK 73102
                                Telephone: 405-235-7700
                                will.hoch@crowedunlevy.com

 Corporate representative (or   c/o Janice B. Grubin                Argonaut, one of the Customers, has
 records custodian) of          LECLAIRRYAN                         knowledge regarding its claims against
 Argonaut Gold Inc. and         885 Third Avenue, Sixteenth Floor   the Debtors
 Compania Minera Pitalla,       New York, NY 10022
 S.A. de C.V., and Minera       T: 212-697-6555
 Real del Oro S.A. de C.V.      F: 212-986-3509
 (“Argonaut”)                   Janice.Grubin@leclairryan.com

 Corporate representative (or   c/o Shelley S. Buchanan             BAM, one of the Customers, has
 records custodian) of Bay      BUCHANAN LAW                        knowledge regarding its claims against
 Area Metals (“BAM”)            912 Cole Street                     the Debtors
                                PMB 120
                                San Francisco, CA 94117-4316
                                Telephone: 628-256-3493
                                ssbuchananlaw@gmail.com

 Corporate representative (or   c/o Donna H. Lieberman              Bayside, one of the Customers, has
 records custodian) of          HALPERIN BATTAGLIA BENZIJA,         knowledge regarding its claims against
 Bayside Metal Exchange         LLP                                 the Debtors
 (“Bayside”)                    40 Wall Street
                                37th Floor
                                New York, NY 10005
                                Telephone: 212-765-9100
                                dlieberman@halperinlaw.net

 Corporate representative (or   c/o Brian McGilvray                 BGASC, one of the Customers, has
 records custodian) of          LAW OFFICES OF BRIAN                knowledge regarding its claims against
 BGASC, LLC (“BGASC”)           MCGILVRAY                           the Debtors
                                5850 Canoga Avenue
                                Suite 400
                                Woodland Hills, CA 91367
                                Telephone: 888-992-4272
                                bmcgilvray@mcgilvray.com




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 Names                          Contact Information               Subjects of Information
 Corporate representative (or   c/o Arthur E. Rosenberg           Brilliant, one of the Customers, has
 records custodian) of          Robert S. Bernstein               knowledge regarding its claims against
 Brilliant Jewelers/MJJ Inc.    HOLLAND & KNIGHT LLP              the Debtors
 and Anjay Corp.                31 West 52nd Street
 (“Brilliant”)                  12th Floor
                                New York, NY 10019
                                Telephone: 212-513-3200
                                arthur.rosenberg@hklaw.com
                                rob.bernstein@hklaw.com

 Corporate representative (or   c/o Michael A. Rosenthal, Esq.    Coeur, one of the Customers, has
 records custodian) of Coeur    Keith R. Martorana, Esq.          knowledge regarding its claims against
 Mexicana S.A. de C.V.,         GIBSON, DUNN & CRUTCHER LLP       the Debtors
 Coeur Rochester, Inc., and     200 Park Avenue
 Wharf Resources (U.S.A.),      New York, New York 10166-0193
 Inc (“Coeur”)                  Tel. (212) 351-4000
                                Fax. (212) 351-4035
                                MRosenthal@gibsondunn.com
                                KMartorana@gibsondunn.com

 Corporate representative (or   c/o Howard P. Magaliff            Cyber-Fox, one of the Customers, has
 records custodian) of          RICH MICHAELSON MAGALIFF, LLP     knowledge regarding its claims against
 Cyber-Fox Trading, Inc.        335 Madison Avenue                the Debtors
 (“Cyber-Fox”)                  9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Robert Fleischer              Debb Schott, one of the Customers, has
 records custodian) of Debb     Kellianne Baranowsky              knowledge regarding its claims against
 Schott, Inc. d/b/a Poplar      GREEN & SKLARZ LLC                the Debtors
 Jewelry and Pawn (“Debb        700 State Street, Suite 100
 Schott”)                       New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com

 Corporate representative (or   c/o Bruce Dopke                   DGG, one of the Customers, has
 records custodian) of          STAHL COWEN CROWLEY ADDIS,        knowledge regarding its claims against
 Design Gold Group, Inc.        LLC                               the Debtors
 (“DGG”)                        55 W. Monroe Street, Suite 1200
                                Chicago, IL 60603
                                bdopke@stahlcowen.com
                                Tel: 312-641-0060




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 Names                          Contact Information                 Subjects of Information
 Corporate representative (or   c/o Steven E. Lewis                 Eddie & Co., one of the Customers,
 records custodian) of Eddie    Luke McGrath                        has knowledge regarding its claims
 & Co. of NY, Inc. d/b/a        DUNNINGTON, BARTHOLOW &             against the Debtors
 Diamond Kingdom (“Eddie        MILLER LLP
 & Co.”)                        230 Park Avenue
                                21st Floor
                                New York, NY 10169
                                Telephone: 212-682-8811
                                slewis@dunnington.com
                                lmcgrath@dunnington.com

 Corporate representative (or   c/o Gerard DiConza                  EZPAWN, one of the Customers, has
 records custodian) of          Jeffrey Traurig                     knowledge regarding its claims against
 EZPAWN, L.P.                   Lance A. Schildkraut                the Debtors
 (“EZPAWN”)                     ARCHER & GREINER, P.C.
                                630 Third Avenue
                                New York, NY 10017
                                Telephone: 212-682-4940
                                gdiconza@archerlaw.com
                                jtraurig@archerlaw.com
                                lschildkraut@archerlaw.com

 Corporate representative (or   c/o Robert Fleischer                FCP, one of the Customers, has
 records custodian) of FCP      Kellianne Baranowsky                knowledge regarding its claims against
 Diamonds, LLC (“FCP”)          GREEN & SKLARZ LLC                  the Debtors
                                700 State Street, Suite 100
                                New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com

 Corporate representative (or   c/o Janice B. Grubin                First Majestic, one of the Customers,
 records custodian) of First    LECLAIRRYAN                         has knowledge regarding its claims
 Majestic Silver Corp.;         885 Third Avenue, Sixteenth Floor   against the Debtors
 Nusantara de Mexico S.A.       New York, NY 10022
 de C.V.; Primero Empresa       T: 212-697-6555
 Minera, S.A. de C.V. (“First   F: 212-986-3509
 Majestic”)                     Janice.Grubin@leclairryan.com

 Corporate representative (or   c/o Richard F. Hans                 Fundación, one of the Customers, has
 records custodian) of          Rachel Ehrlich Albanese             knowledge regarding its claims against
 Fundación Rafael Dondé,        DLA PIPER LLC (US)                  the Debtors
 I.A.P. (“Fundación”)           1251 Avenue of the Americas
                                New York, NY 10020
                                Telephone: 212-335-4500
                                Richard.Hans@dlapiper.com
                                Rachel.Albanese@dlapiper.com




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 Names                          Contact Information             Subjects of Information
 Corporate representative (or   c/o Howard P. Magaliff          Geib, one of the Customers, has
 records custodian) of Geib     RICH MICHAELSON MAGALIFF, LLP   knowledge regarding its claims against
 Refining Corp. (“Geib”)        335 Madison Avenue              the Debtors
                                9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Robert Fleischer            General Refining, one of the
 records custodian) of          Kellianne Baranowsky            Customers, has knowledge regarding
 General Refining and           GREEN & SKLARZ LLC              its claims against the Debtors
 Smelting Corp. (“General       700 State Street, Suite 100
 Refining”)                     New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com

 Corporate representative (or   c/o Howard P. Magaliff          GoldSilver, one of the Customers, has
 records custodian) of          RICH MICHAELSON MAGALIFF, LLP   knowledge regarding its claims against
 GoldSilver, LLC                335 Madison Avenue              the Debtors
 (“GoldSilver”)                 9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Jane Pearson                INTL FCStone, one of the Customers,
 records custodian) of INTL     POLSINELLI PC                   has knowledge regarding its claims
 FCStone Ltd. (“INTL            1000 Second Avenue              against the Debtors
 FCStone”)                      Suite 3500
                                Seattle, WA 98104
                                Telephone: 206-393-5415
                                Jane.pearson@polsinelli.com

 Corporate representative (or   c/o Davis Lee Wright            Israel Coins, one of the Customers, has
 records custodian) of Israel   ROBINSON & COLE LLP             knowledge regarding its claims against
 Coins and Medals Corp.         1000 N. West Street             the Debtors
 Ltd. (“Israel Coins”)          Suite 1200
                                Wilmington, DE 19801
                                Telephone: 212-451-2900
                                dwright@rc.com

 Corporate representative (or   c/o David A. Blansky            James Avery, one of the Customers,
 records custodian) of James    LAMONICA HERBST &               has knowledge regarding its claims
 Avery Craftsman, Inc.          MANISCALCO, LLP                 against the Debtors
 (“James Avery”)                3305 Jerusalem Avenue
                                Wantagh, NY 11793
                                Telephone: 516-826-6500
                                dab@lhmlawfirm.com”




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 Names                          Contact Information                 Subjects of Information
 Corporate representative (or   Jewellery Quarter Bullion Limited   JQBL, one of the Customers, has
 records custodian) of          Floor 16                            knowledge regarding its claims against
 Jewellery Quarter Bullion      Centre City House                   the Debtors
 Limited (“JQBL”)               7 Hill Street
                                Birmingham, B5 4UA
                                United Kingdom
                                Telephone: +44(0) 121 634 8060

 Corporate representative (or   c/o Robert Fleischer                Mid-States, one of the Customers, has
 records custodian) of Mid-     Kellianne Baranowsky                knowledge regarding its claims against
 States Recycling, Inc.         GREEN & SKLARZ LLC                  the Debtors
 (“Mid-States”)                 700 State Street, Suite 100
                                New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com

 Corporate representative (or   c/o Gary D. Bressler                Midwest, one of the Customers, has
 records custodian) of          Nicole Leonard                      knowledge regarding its claims against
 Midwest Refineries, LLC        MCELROY, DEUTSCH, MULVANEY          the Debtors
 (“Midwest”)                    & CARPENTER, LLP
                                300 Delaware Avenue
                                Suite 770
                                Wilmington, DE 19801
                                Telephone: 212-483-9490
                                gbressler@mdmc-law.com
                                nleonard@mdmc-law.com

 Corporate representative (or   c/o Howard P. Magaliff              Minas de Oroco, one of the Customers,
 records custodian) of Minas    RICH MICHAELSON MAGALIFF, LLP       has knowledge regarding its claims
 de Oroco Resources, S.A.       335 Madison Avenue                  against the Debtors
 de C.V. (“Minas de Oroco”)     9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Steven M. Berman                Mitchell Levine, one of the Customers,
 records custodian) of          SHUMAKER, LOOP & KENDRICK,          has knowledge regarding its claims
 Mitchell Levine, Erie          LLP                                 against the Debtors
 Management Partners,           101 E. Kennedy Boulevard
 LLC, and Plat/Co.              Bank of America Plaza, Suite 2800
 (“Mitchell Levine”)            Tampa, FL 99602
                                Telephone: 813-229-7600
                                sberman@slk-law.com

                                and

                                Michael P. Richman
                                STEINHILBER SWANSON LLP
                                122 W. Washington
                                Suite 850
                                Madison, WI 53703
                                Telephone: 608-630-8990
                                mrichman@Steinhilberswanson.com



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 Names                          Contact Information             Subjects of Information
 Corporate representative (or   c/o Howard P. Magaliff          Music City, one of the Customers, has
 records custodian) of Music    RICH MICHAELSON MAGALIFF, LLP   knowledge regarding its claims against
 City Group, LLC (“Music        335 Madison Avenue              the Debtors
 City”)                         9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Howard P. Magaliff          My Gold, one of the Customers, has
 records custodian) of My       RICH MICHAELSON MAGALIFF, LLP   knowledge regarding its claims against
 Gold Limited (“My Gold”)       335 Madison Avenue              the Debtors
                                9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Robert Fleischer            Noble, one of the Customers, has
 records custodian) of Noble    Kellianne Baranowsky            knowledge regarding its claims against
 Metal Services, Inc.           GREEN & SKLARZ LLC              the Debtors
 (“Noble”)                      700 State Street, Suite 100
                                New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com

 Corporate representative (or   c/o Howard P. Magaliff          NA Bullion, one of the Customers, has
 records custodian) of North    RICH MICHAELSON MAGALIFF, LLP   knowledge regarding its claims against
 American Bullion               335 Madison Avenue              the Debtors
 Exchange (“NA Bullion”)        9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative (or   c/o Sean C. Southard            Pollock-Cameron, one of the
 records custodian) of          KLESTADT WINTERS JURELLER       Customers, has knowledge regarding
 Pollock-Cameron                SOUTHARD & STEVENS, LLP         its claims against the Debtors
 Investments Corp. and          200 W. 41st Street
 7645635 Canada Inc.            17th Floor
 (“Pollock-Cameron”)            New York, NY 10036
                                Telephone: 212-972-3000
                                ssouthard@klestadt.com”

 Corporate representative (or   c/o Robert Fleischer            PPS, one of the Customers, has
 records custodian) of PPS,     Kellianne Baranowsky            knowledge regarding its claims against
 Inc. d/b/a Braswell & Son      GREEN & SKLARZ LLC              the Debtors
 (“PPS”)                        700 State Street, Suite 100
                                New Haven, CT 06511
                                (203) 285-8545
                                rfleischer@gs-lawfirm.com
                                kbaranowsky@gs-lawfirm.com




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 Names                          Contact Information               Subjects of Information
 Corporate representative (or   c/o Janet M. Weiss                Premier, one of the Customers, has
 records custodian) of          Jessica D. Mikhailevich           knowledge regarding its claims against
 Premier Gold Mines             DORSEY & WHITNEY LLP              the Debtors
 Limited (“Premier”)            51 West 52nd Street
                                New York, NY 10019-6119
                                Telephone: 212-415-9357
                                weiss.janet@dorsey.com
                                mikhailevich.jessica@dorsey.com

 Corporate representative (or   c/o Eric Seiler                   Pretium, one of the Customers, has
 records custodian) of          Jamuna D. Kelley                  knowledge regarding its claims against
 Pretium Exploration, Inc.      Jason C. Rubinstein               the Debtors
 (“Pretium”)                    FRIEDMAN KAPLAN SEILER &
                                ADELMAN LLP
                                7 Times Square
                                New York, NY 10036-6516
                                Telephone: 212-833-1100
                                eseiler@fklaw.com
                                jkelley@fklaw.com
                                jrubinstein@fklaw.com

 Corporate representative (or   c/o David J. Kozlowski            Prince & Izant, one of the Customers,
 records custodian) of Prince   Edward P. Gilbert                 has knowledge regarding its claims
 & Izant Company (“Prince       Robert K. Dakis                   against the Debtors
 & Izant”)                      MORRISON COHEN LLP
                                909 Third Avenue
                                New York, NY 10022-4784
                                Telephone: 212-735-8600
                                bankruptcy@morrisoncohen.com

                                and

                                Rocco I. Debitetto
                                HAHN LOESER & PARKS LLP
                                200 Public Square
                                Suite 2800
                                Cleveland, OH 44114
                                Telephone: 216-621-0150
                                ridebitetto@hahnlaw.com

 Corporate representative (or   c/o William J. Levant             Pyromet, one of the Customers, has
 records custodian) of          KAPLIN STEWART MELOFF REITER      knowledge regarding its claims against
 Pyropure, Inc., d/b/a          & STEIN, P.C.                     the Debtors
 Pyromet (“Pyromet”)            1700 Market Street
                                Suite 1005
                                Philadelphia, PA 19103
                                Telephone: 610-941-2474
                                wlevant@kaplaw.com




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 Names                          Contact Information             Subjects of Information
 Corporate representative (or   c/o Burton S. Weston            Queen, one of the Customers, has
 records custodian) of Queen    GARFUNKEL WILD, P.C.            knowledge regarding its claims against
 of Pawns & Jewellery, Inc.     111 Great Neck Road             the Debtors
 (“Queen”)                      Great Neck, NY 11021
                                Telephone: 516-393-2200
                                bweston@garfunkelwild.com

 Corporate representative (or   c/o Thomas J. Frank             SDGE, one of the Customers, has
 records custodian) of San      THE LAW OFFICES OF MARK J.      knowledge regarding its claims against
 Diego Gold Exchange            FRIEDMAN P.C.                   the Debtors
 (“SDGE”)                       66 Split Rock Road
                                Syosset, NY 11791
                                Telephone: 516-653-2480
                                tfrank@friedmanpc.com

 Corporate representative (or   c/o Wanda Borges                SCMI, one of the Customers, has
 records custodian) of SCMI     Sue L. Chin                     knowledge regarding its claims against
 US Inc. (“SCMI”)               BORGES & ASSOCIATES, LLC        the Debtors
                                575 Underhill Boulevard
                                Syosset, NY 11791
                                Telephone: 516-677-8200
                                wborges@borgeslawllc.com
                                schin@borgeslawllc.com

 Corporate representative (or   c/o Edward E. Neiger            SK Bullion, one of the Customers, has
 records custodian) of SK       Marianna Udem                   knowledge regarding its claims against
 Bullion Pte Ltd (“SK           ASK LLP                         the Debtors
 Bullion”)                      151 West 46th Street
                                4th Floor
                                New York, NY 10036
                                Telephone: 212-267-7342
                                eneiger@askllp.com
                                mudem@askllp.com

 Corporate representative (or   c/o Carl N. Kunz, III           So Accurate, one of the Customers, has
 records custodian) of So       Eric J. Monzo                   knowledge regarding its claims against
 Accurate Group, Inc., d/b/a    MORRIS JAMES LLP                the Debtors
 So Accurate Refining           500 Delaware Avenue
 Services (“So Accurate”)       Suite 1500
                                Wilmington, DE 19801
                                Telephone: 302-888-6800
                                ckunz@morrisjames.com
                                emonzo@morrisjames.com

 Corporate representative (or   c/o Howard P. Magaliff          Strategic regarding its claims against
 records custodian) of          RICH MICHAELSON MAGALIFF, LLP   the Debtors
 Strategic Gold Corporation     335 Madison Avenue
 (“Strategic”)                  9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com




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 Names                          Contact Information                 Subjects of Information
 Corporate representative (or   c/o Howard P. Magaliff              TPM, one of the Customers, has
 records custodian) of Texas    RICH MICHAELSON MAGALIFF, LLP       knowledge regarding its claims against
 Precious Metals LLC            335 Madison Avenue                  the Debtors
 (“TPM”)                        9th Floor
                                New York, NY 10017
                                Telephone: 646-453-7851
                                hmagaliff@r3mlaw.com

 Corporate representative       c/o Paul R. Hage                    Gold Refiner, one of the Customers,
 (or records custodian) of      JAFFE RAITT HEUER & WEISS, P.C.     has knowledge regarding its claims
 The Gold Refinery, LLC         27777 Franklin Rd., Suite 2500      against the Debtors
 and Norman Bean (“Gold         Southfield, MI 48034
 Refinery”)                     Telephone: 248-351-3000
                                phage@jaffelaw.com

 Corporate representative (or   c/o Benjamin Mintz                  Tiffany, one of the Customers, has
 records custodian) of          Charles A. Malloy                   knowledge regarding its claims against
 Tiffany & Co. (“Tiffany”)      ARNOLD & PORTER KAYE                the Debtors
                                SCHOLER LLP
                                250 West 55th Street
                                New York, NY 10019-9710
                                Telephone: 212-836-8000
                                benjamin.mintz@arnoldporter.com
                                charles.malloy@arnoldporter.com

 Corporate representative (or   c/o Daniel F. Blanks                USGB, one of the Customers, has
 records custodian) of USGB     NELSON MULLINS RILEY &              knowledge regarding its claims against
 LLC d/b/a United States        SCARBOROUGH LLP                     the Debtors
 Gold Bureau and Wholesale      50 N. Laura Street
 Coins Direct, LLC              41st Floor
 (“USGB”)                       Jacksonville, FL 32202
                                Telephone: 904-665-3656
                                daniel.blanks@nelsonmullins.com

 Corporate representative (or   c/o David L. Elsberg                Yamana, one of the Customers, has
 records custodian) of          David S. Flugman                    knowledge regarding its claims against
 Yamana Gold, Inc.              SELENDY & GAY PLLC                  the Debtors
 (“Yamana”)                     1290 Avenue of the Americas
                                New York, NY 10104
                                Telephone: 212-390-9000
                                delsberg@selendygay.com
                                dflugman@selendygay.com


       Rule 26(a)(1)(A)(ii). A copy – or a description by category and location–of all
documents, electronically stored information, and tangible things that the disclosing party
has in its possession, custody, or control and may use to support its claims or defenses,
unless the use would be solely for impeachment:

                  Items that are intended solely for impeachment are not covered by
                  the provision of Rule 26(a)(1)(A)(ii) of the Federal Rules of Civil
                  Procedure. Plaintiff reserves the right to supplement his disclosures
                  under Rule 26(e)(1)(A) of the Federal Rules of Civil Procedure.


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         The following categories of documents are in the Defendants’ possession, custody or

control and may be relevant to any party’s claim or defense: (1) documents and correspondence

regarding the Debtors' relationship with the Customer, (2) inventory records, (3) shipping and

receiving records, and, 4) refining records. In accordance with Paragraph 13 of the Procedures

Order, the Debtors will provide Customers and the Senior Lenders access to a confidential

document room for all discovery with private and confidential folders for each Customer, the

Debtors and the Senior Lenders.

        Rule 26(a)(1)(A)(iii). A computation of any category of damages claimed by the
disclosing party–who must also make available for inspection and copying as under Rule 34
the documents or other evidentiary material, unless privileged or protected from
disclosure, on which each computation is based, including materials bearing on the nature
and extent of injuries suffered:

         The Debtors are not seeking any damages from claimants at this time although they

reserve their rights to do so.



         Rule 26(a)(1)(A)(iv). For inspection and copying as under Rule 34, any insurance

agreement under which an insurance business may be liable to satisfy part or all of a

possible judgment in the action or to indemnify or reimburse for payments made to satisfy

the judgment:

         The Debtors' officers and directors are covered by the following types of insurance

policies: Director and Officer Liability, Crime & Flood, General Liability and Commercial

Property, Worker's Compensation, Pollution, and Automobile.




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Dated: March 11, 2019                     Respectfully Submitted,

                                          AKERMAN LLP

                                          By: /s/ John E. Mitchell
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                                             Andrea S. Hartley (Admitted Pro Hac Vice)
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                                                                -and-

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                                             AKERMAN LLP
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                                          Counsel for Debtors and Debtors-in-Possession




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